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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES OF AMERICA

        -v-                                                           No. 18-CR-656-LTS

CARLOS ALVAREZ,

                 Defendant.

-------------------------------------------------------x

                                                           ORDER

                  The Court has received Defendant’s Supplemental Motion to Modify Conditions

of Release dated October 20, 2020 (Docket Entry No. 121), filed in further support of his letter-

motion for release dated August 13, 2020. (Docket Entry No. 98.) The Government shall file its

opposition to Defendant’s Supplemental Motion by November 4, 2020. Defendant shall file his

reply, if any, by November 11, 2020.

        SO ORDERED.

Dated: New York, New York
       October 21, 2020

                                                                      /s/ Laura Taylor Swain
                                                                      LAURA TAYLOR SWAIN
                                                                      United States District Judge




ALVAREZ - ORD RE OCT 20 2020 SUPP MOT.DOCX                 VERSION OCTOBER 21, 2020                  1
